Case 1:20-cv-03518-JDB

JS-44 (Rey. 11/2020 DC)

Document 1-1

Filed 12/03/20

CIVIL COVER SHEET

Page 1 of 2

I. (a) PLAINTIFFS

FEDERAL TRADE COMMISSION

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS
COSTAR GROUP, INC.

RENTPATH HOLDINGS, INC.

COUNTY OF RESIDENCE OF FIRSTLISTED DEFENDANT 11001

(IN U.S. PLAINTIFF CASES ONLY)
NOTE INLAND CONDEMNATION CASES, USE THE LOCATION OFTHE TRACT OF LAND INVOLVED

(c) ATTORNEYS (FIRMNAME, ADDRESS, AND TELEPHONE NUMBER)

Susan Musser

Federal Trade Commission

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Washington, DC 20580

(202) 326-2122

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II. BASIS OF JURISDICTION Ill. CITIZENSHIP OF PRINCIPAL PARTIES (PLACE ANx IN ONEBOX FOR
(PLACE AN x IN ONE BOX ONLY) PLAINTIFF AND ONE BOX FOR DEFENDANT) FOR DIVERSITY CASES ONLY!
¢ PIF DFT PIF DFT
1 U.S. Govemment O 3 Federal Question O
Plamtiff (U.S. Goverment Not a Party) | Citizen of this State O 1 O 1 Incorporated or Principal Place 4 O 4
of Busimess m This State
oO 2 a Govemment O 4 Diversity Citizen of Another State O 2 oO 2 Incorporated and Principal Place oO 5 O 5
endant (ndicate Citizenship of :
Parties in item IIT) of Busmess m Another State
Citizen or Subject ofa O 3 oO 3

Foreign Country Foreign Nation O 6 Oo 6

IV. CASE ASSIGNMENT AND NATURE OF SUIT

(Place an X in one category, A-N, that best represents your Cause of Action and one in a corresponding Nature of Suit)

© A. Antitrust

[J] 410 Antitrust

O B. Personal Injury/
Malpractice

[__] 310 Airplane

C] 315 Airplane Product Liability
[_] 320 Assault, Libel & Slander
[] 330 Federal Employers Liability

C] 360 Other Personal Injury

[] 362 Medical Malpractice

[J 365 Product Liability

CI 367 Health Care/Pharmaceutical
Personal Injury Product Liability

Oc. Administrative Agency

Review

Cl 151 Medicare Act

Social Security
[_] 861 HIA (395ff)

[_] 340 Marine [J 862 Black Lung (923)

[__] 345 Marine Product Liability = Tad ene eg
[__] 350 Motor Vehicle Sop a XVI

[] 355 Motor Vehicle Product Liability [1 8651 ee (g)

[J 891 Agricultural Acts
[_] 893 Environmental Matters
[_] 890 Other Statutory Actions (If

Administrative Agency is

O D. Temporary Restraining
Order/Preliminary
Injunction

Any nature of suit from any category
may be selected for this category of
case assignment.

*(f Antitrust, then A governs)*

Involved
[] 368 Asbestos Product Liability retro)
O E. General Civil (Other) OR O F. ProSe General Civil
Real Property Bankruptcy Federal Tax Suits
[-] 210 Land Condemnation [__] 422 Appeal 27 USC 158 [_] 870 Taxes (US plaintiff or [] 465 Other Immigration Actions
[J 220 Foreclosure [J 423 Withdrawal 28 USC 157 defendant) [_] 470 Racketeer Influenced
[__] 230 Rent, Lease & Ejectment (J 871 aed Party 26 USC @ Gates Orgsiiation.
[_] 240 Torts to Land papa —— = - [] 480 Consumer Credit
[__] 245 Tort Product Liability eI x40 Mana ean Oth Forfeiture/Penalty [1 485 Telephone Consumer
= » Niandamus er °
[_] 290 All Other Real Property El ecpcees Rights [] 625 Drug Related Seizure of Protection Act (TCPA)
Personal Property CI 555 Prison Conditions aon [tar cateaaaees Ty
850 Securities/C dities/
[__]370 Other Fraud [_] 560 Civil Detainee — Conditions [1 690 Other CI fee paren
(] 371 Truth in Lending of Confinement Other Statutes 1896 aipdseaits
[1380 oat Mires EER pOray yee [__] 375 False Claims Act [__] 899 Administrative Procedure
es “ $20 Copyrights CJ 376 Qui Tam (31 USC Act/Review or Appeal of
CI eee ee C1] 830 Patent 3729(a)) Agency Decision
" [_] 835 Patent — Abbreviated New [] 400 State Reapportionment | [] 950 Constitutionality of State
Disp Apebictinen [_] 430 Banks & Banking Statutes

CI 840 Trademark
[] 880 Defend Trade Secrets Act of
2016 TSA)

[J 450 Commerce/ICC Rates/etc

[__] 460 Deportation

CI 462 Naturalization
Application

[__] 890 Other Statutory Actions
Gif not administrative agency
review or Privacy Act)

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© G. Habeas Corpus/ © H. Employment © |. FOIA/Privacy Act © J. Student Loan
pu mptoy
2255 Discrimination
[] 530 Habeas Corpus — General [_] 442 Civil Rights — Employment [] 895 Freedom of Information Act [] 152 Recovery of Defaulted
[_] 510 Motion/Vacate Sentence (criteria: race, gender/sex, [_] 890 Other Statutory Actions Student Loan
[] 463 Habeas Corpus ~ Alien national origin, (if Privacy Act) (excluding veterans)
Detainee discrimination, disability, age, .

religion, retaliation)

*(If pro se, select this deck)* *(If pro se, select this deck)*
© K. Labor/ERISA © L. Other Civil Rights © M. Contract © N. Three-Judge
(non-employment) (non-employment) Court
CJ 110 Insurance
{-}] 710 Fair Labor Standards Act [_] 441 Voting (if not Voting Rights [1120 Marine [_] 441 Civil Rights — Voting
[-_] 720 Labor/Mgmt. Relations Act) [__] 130 Miller Act (if Voting Rights Act)
[__] 740 Labor Railway Act [__]443 Housing/Accommodations L140 Negotiable Instrument
[-] 751 Family and Medical [_}440 Other Civil Rights [1150 Recovery of Overpayment
Leave Act [1] 445 Americans w/Disabilities — & Enforcement of
C_] 790 Other Labor Litigation Employment Judgment
[__] 791 Empl. Ret. Inc. Security Act [1446 Americans w/Disabilities — [__] 153 Recovery of Overpayment
Other of Veteran’s Benefits
[_]448 Education [__] 160 Stockholder’s Suits

[__] 190 Other Contracts
[] 195 Contract Product Liability
[_] 196 Franchise

V. ORIGIN
© 1 Original © 2Removed (© 3Remanded © 4Reinstated © 5 Transferred © 6 Multi-district © 7 Appeal to O 8 Multi-district
Proceeding from State from Appellate or Reopened from another Litigation District Judge Litigation —
Court Court district (specify) from Mag. Direct File
Judge

VI. CAUSE OF ACTION (CITE THE US. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.)
15 U.S.C. 53(b). Action for preliminary injunction; potential violation of 15 U.S.C. 18, 21, and 45

VIL REQUESTED IN CHECK IF THIS IS A CLASS DEMAND $ Check YES only if demanded in complaint
COMPLAINT ACTION UNDER F.RCP, 23 JURY DEMAND: yes{__]| Nnolx ]
VIH. RELATED CASE(S) (See instruction) YES [| NO [] If yes, please complete related case form
IF ANY

DATE: 12/2/2020 SIGNATURE OF ATTORNEY OF RECORD Alp ho WM aw-—
a —

INSTRUCTIONS FOR COMPLETING CIVIL COVER SHEET JS-44
Authority for Civil Cover Sheet

The JS-44 civil cover sheet and the information conta ined herein neither replaces nor supplements the filings and services of pleadings or other papersas required
by law, exceptas provided by loca! rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required forthe use of the
Clerk of Court for the purpose of initiating the civil docketsheet. Consequently, civil cover sheet is submitted to the Clerk of Court for each civil complaint filed.
Listed below are tips for completing the civil covershect. These tips coincide with the Roman Numerals on the cover sheet.

L COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF/DEFENDANT (b) County of residence: Use 11001 to indicate plaintiff if resident
of Washington, DC, 88888 if plaintiff is resident of United States but not Washington, DC, and 99999 if plaintiff is outside the United States

TIL. CITIZENSHIP OF PRINCIPAL PARTIES: This section is completed only if diversity of citizenship was selected as the Basis of Jurisdiction
under Section II.

Tv. CASE ASSIGNMENT AND NATURE OF SUIT: The assignment ofa judge to your case will depend on the category you select that best
represents the primary cause of action found in yourcomplaint. You may select only one category. You mustalso select one corresponding
nature of suit found under the category of the case.

VI. CAUSE OF ACTION: Cite the U.S. Civil Statute under waich you are filing and write a brief statement of the primary cause.

VIII. RELATED CASE(S), LF ANY: Ifyou indicated that there is a related case, youmust complete a related case form, which may be obtained from
the Clerk’s Office.

Because of the need for accurate and compiete information, you should ensure the accuracy of the information provided pnor to signing the form.
